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                     Exhibit 4
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


VINCENT LEUNG, on behalf of himself and all
others similarly situated,

                  Plaintiff,
                                                           No. 15 CV 03877
                  v.
                                                           Judge Edmond E. Chang
XPO LOGISTICS, INC.,
              Defendant.


                SUPPLEMENTAL DECLARATION OF KEITH J. KEOGH
       Keith J. Keogh declares under penalty of perjury, that the following statements are true:


       1.      I am over the age of eighteen and I am fully competent to make this declaration.

This declaration is based upon my personal knowledge and if called upon to testify to the matters

stated herein, I could and would do so competently.

       2.      The litigation was robust and involved novel legal issues that were shifting as a

result of both cases before the Supreme Court and matters in front of the FCC.

       3.      The parties engaged in formal discovery relating to the class. Although this

litigation was not overly contentious, Plaintiff repeatedly needed Court assistance to obtain

discovery from both Defendant and Third Parties as evidenced by the motions to compel

production of discovery against both XPO (Dkt. Nos. 69 and 117) as well as against third

parties. Dkt. Nos. 105 (Amazon), Dkt. 123 (Lowes), and Dkt. 125 (Home Depot).

       4.      As part of the discovery process, Class Counsel obtained comprehensive records

of the survey calls in discovery, showing the dates of the calls, the telephone numbers dialed, as

well as the name and address of the person called. Plaintiff’s expert analyzed these records and

identified the unique telephone numbers that were assigned to cellular telephone service at the
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time of the survey calls by cross referencing the numbers against cellular number databases that

determines the number was a cellular telephone at the time of the call. Plaintiff also deposed

XPO’s expert, three separate Rule 30b(6) depositions as well as individual XPO employees.

These depositions took place across the country.

          5.    As a result, Class Counsel were well-positioned to evaluate the strengths and

weaknesses of the case, as well as the appropriate basis upon which to settle it.

          6.    Throughout this process the parties engaged in extensive arms-length settlement

negotiations with the hope of resolving the Litigation.          The parties mediated before the

Honorable Wayne Andersen (“Judge Andersen”) of Judicial Arbitration and Mediation Services,

Inc. (“JAMS”) on March 16, 2016, and again on May 23, 2016. A third private mediation was

held before the Honorable James Holderman (“Judge Holderman”) of JAMS on June 23, 2017,

as well as follow-up in person meetings and negotiations between myself and officers of XPO

before reaching a resolution in principle on August 25, 2017. Prior to each mediation, the parties

submitted detailed mediation briefs to the mediators setting forth their respective views on the

strengths of their cases. At mediation, the parties discussed their relative views of the law and

the facts and potential relief for the proposed Class. 1

          7.    I am confident in the strength of the claims alleged in this action and that Plaintiff

would ultimately prevail at trial. Notwithstanding the foregoing, litigation is inherently

unpredictable, and the outcome of a trial is never guaranteed. Thus, I concede that Plaintiff

would face significant risk in taking this case to trial.

          8.    Some examples of the risks of this case is that there is the possibility that the

Court would grant the motion to dismiss or the Court would deny class certification, or that the



1
    Id.

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result at trial would weigh in Defendants’ favor. See e.g. Warnick v. Dish Network, LLC, 304

F.R.D. 303 (D. Colo. 2014) (denying class certification in a TCPA case); see also Jamison v.

First Credit Services, Inc., 2013 U.S. Dist. LEXIS 105352 (N.D. Ill. 2013) (denying class

certification in a TCPA case).

       9.      An additional risk is that even after certification, the class can be decertified. For

example, in Johnson v. Yahoo! Inc., No. 14 CV 2028, 2018 U.S. Dist. LEXIS 23564, at *2 (N.D.

Ill. Feb. 13, 2018) the court decertified a TCPA class after notice was sent to over 360,000 class

members where plaintiff’s counsels are responsible for the notice costs.

       10.     The Settlement factored in the above risks based and counsels extensive

experience in TCPA class actions.

       11.     I do not get a penny from NCLC or anybody else for speaking at NCLC

conferences (or anything else). Further, I must pay my own travel, lodging and must even pay

for the tuition for the conferences I speak at.

       Executed at Chicago, Illinois, on February 20, 2018.




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